        Case 5:21-cv-00844-XR Document 863-1 Filed 01/22/24 Page 1 of 4




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Case 5:21-cv-00844-XR Document 863-1 Filed 01/22/24 Page 4 of 4




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